                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                               Plaintiff,     )
                                              )
                       v.                     )               No. 12-4044-01-CR-C-FJG
                                              )
ELOY CASTANEDA-GONZALEZ,                      )
                                              )
                               Defendant.     )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Eloy Castaneda-Gonzalez, by consent, appeared before the undersigned on
July 25, 2013, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule
72(c)(1)(j), and 28 U.S.C. § 636, and has entered a plea of guilty to both Counts One and Two of
the Indictment filed on June 27, 2012. In addition, defendant does not contest the criminal
forfeiture allegation contained in the Indictment. After cautioning and examining the defendant,
under oath, in accordance with the requirements of Rule 11, it was determined that the guilty
plea was made with full knowledge of the charges and the consequences of pleading guilty, was
voluntary, and that the offenses to which the defendant has plead guilty are supported by a
factual basis for each of the essential elements of the offenses.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Eloy Castaneda-Gonzalez be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
       Dated this 25th day of July, 2013, at Jefferson City, Missouri.


                                              /s/   Matt J. Whitworth
                                              MATT J. WHITWORTH
                                              United States Magistrate Judge




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